











Opinion issued February 9, 2006











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In The
Court of Appeals
For The
First District of Texas




NO. 01-05-00970-CV




IN RE CHARLES H. LAMAY, Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator, Charles H. LaMay, filed a petition for a writ of mandamus asking this
court to direct respondent


 to vacate his order of September 5, 2005 compelling
arbitration.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We deny the petition for a writ of mandamus. 
PER CURIAM
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Panel consists of Justices Taft, Higley, and Bland.
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